         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2759
                   LT Case No. 2017-CF-1437
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GERALD DWAYNE MCDANIEL,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.850 Appeal from the Circuit Court for Putnam County.
Alicia R. Washington, Judge.

Matthew R. McLain, of McLain Law, P.A., Longwood, for
Appellant.

Ashley Moody, Attorney General, Tallahassee, and Pamela J.
Koller, Assistant Attorney General, Daytona Beach, for Appellee.


                        August 27, 2024


PER CURIAM.

    AFFIRMED.


EDWARDS, C.J., and SOUD and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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